
This was an appeal from a decree of the Chancery District Court, held at Staun-ton, by which a bill of injunction was dismissed with costs.
Chapman Johnson, for the appellee, moved the Court to admit the appeal to be docketed, and to affirm the decree immediately, alleging it to be a case for delay.
JUDGES LYONS and CARRINGTON
were of opinion, that notice ought to be given of an intention to take up an appeal at the first term in a Chancery case; that it was, indeed, the practice of the Court, in cases of appeals from judgments obtained on forthcoming bonds, and in other cases where there is no dispute, to examine the records at the term to which they were brought up, but not in Chancery Cases.
JUDGE TUCKER.
The practice of the Court being founded on the principle, that, where the appellant had' already, for the sake of delay, taken every advantage allowed by the law, no farther procrastination should be permitted here; the rule ought, therefore, to be extended to cases of injunction, in which the complainant has generally obtained delay by more unjustifiable means than in other cases — of course, I am of opinion, that the appeal ought to be taken up immediately.
But, the majority of the Court being of a different opinion, the appeal was docketed, and the motion to take it up overruled.
